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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00044-SAB
12                                  Plaintiff,            STIPULATION FOR EXTENSION OF TIME FOR
                                                          PRELIMINARY HEARING PURSUANT TO RULE
13                            v.                          5.1(d) AND EXCLUSION OF TIME
14   JOSE FIGUEROA &                                      DATE: May 7, 2020
     JOAQUIN VELASCO,                                     TIME: 2:00 p.m.
15                                                        COURT: Hon. Barbara A. McAuliffe
                                   Defendants.
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17
            Plaintiff United States of America, by and through its attorney of record, Assistant United States
18
     Attorney ALEXANDRE DEMPSEY, and defendant JOSE FIGUEROA, both individually and by and
19
     through his counsel of record, CHRISTINA CORCORAN, hereby stipulate as follows:
20
            1.        The Complaint in this case was filed on March 11, 2020, and defendant first appeared
21
     before a judicial officer of the Court in which the charges in this case were pending on March 11, 2020.
22
     The court set an original preliminary hearing date of March 25, 2020.
23
            2.        On March 18, 2020 the parties jointly moved for an extension of time of the preliminary
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     hearing date to April 9, 2020. The Court granted that motion on March 19, 2020 and ordered that the
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     time between March 25, 2020 and April 9, 2020 be excluded from calculation pursuant to 18 U.S.C. §
26
     3161(h)(7)(A).
27
            3.        On April 3, 2020 the parties jointly moved for an extension of time of the preliminary
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     hearing date to April 23, 2020. The Court granted that motion on April 3, 2020 and ordered that the
      STIPULATION & ORDER                                 1
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                 Case 1:20-mj-00044-SAB Document 19 Filed 05/04/20 Page 2 of 4


 1 time between April 9, 2020 and April 23, 2020 be excluded from calculation pursuant to 18 U.S.C. §

 2 3161(h)(7)(A).

 3          4.       On April 17, 2020 the parties jointly moved for an extension of time of the preliminary

 4 hearing date to May 7, 2020. The Court granted that motion on April 17, 2020 and ordered that the time

 5 between April 23, 2020 and May 7, 2020 be excluded from calculation pursuant to 18 U.S.C. §

 6 3161(h)(7)(A).

 7          5.       By this stipulation, the parties jointly move for an extension of time of the preliminary

 8 hearing date to May 21, 2020, at 2:00 p.m., before the duty Magistrate Judge, pursuant to Rule 5.1(d) of

 9 the Federal Rules of Criminal Procedure. The parties stipulate that the delay is required to allow the
10 defense reasonable time for preparation and review of discovery, and for the government’s continuing

11 investigation of the case. The parties further agree that the interests of justice served by granting this

12 continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §

13 3161(h)(7)(A).

14          6.       The parties agree that good cause exists for the extension of time, and that the extension

15 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

16 Therefore, the parties request that the time between May 7, 2020, and May 21, 2020, be excluded

17 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

18          IT IS SO STIPULATED.

19
      Dated: May 4, 2020                                      MCGREGOR W. SCOTT
20                                                            United States Attorney
21
                                                              /s/ ALEXANDRE DEMPSEY
22                                                            ALEXANDRE DEMPSEY
                                                              Assistant United States Attorney
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24
      Dated: May 4, 2020                                      /s/ CHRISTINA CORCORAN
25                                                            CHRISTINA CORCORAN
26                                                            Counsel for Defendant
                                                              JOSE FIGUEROA
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       STIPULATION & ORDER                                2
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 9                               IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00044-SAB
12
                                   Plaintiff,             FINDINGS AND ORDER EXTENDING TIME FOR
13                                                        PRELIMINARY HEARING PURSUANT TO RULE
                            v.                            5.1(d) AND EXCLUDING TIME
14
     JOSE FIGUEROA &                                      DATE: May 7, 2020
15   JOAQUIN VELASCO,                                     TIME: 2:00 p.m.
                                                          COURT: Hon. Barbara A. McAuliffe
16                                Defendants.
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19          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

20 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on May 4, 2020. The
21 Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

22 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

23 5.1(d) of the Federal Rules of Criminal Procedure.

24          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests

25 of justice served by granting this continuance outweigh the best interests of the public and the defendant

26 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would
27 not adversely affect the public interest in the prompt disposition of criminal cases.

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      STIPULATION & ORDER                                  3
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                Case 1:20-mj-00044-SAB Document 19 Filed 05/04/20 Page 4 of 4


 1         THEREFORE, FOR GOOD CAUSE SHOWN:

 2         1.       The date of the preliminary hearing is extended to May 21, 2020, at 2:00 p.m.

 3         2.       The time between May 7, 2020, and May 21, 2020, shall be excluded from calculation

 4 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 5         3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

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     IT IS SO ORDERED.
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 8     Dated:      May 4, 2020                               /s/ Barbara A. McAuliffe               _
                                                      UNITED STATES MAGISTRATE JUDGE
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      STIPULATION & ORDER                               4
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